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KURT F. JOHNSON 13177-081
P.O. BOX 1000
MARION, IL 62959




                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,                           Case No.: 18-cr-40043-JPG

            Plaintiff,                              MOTION TO DISMISS INDICTMENT

V.      -    ~   —


KURT F. JOHNSON,

            Defendant.
                                /
       This motion may be considered untimely but this determination would be in

equitable because the delays have all been prejudiced upon the defense.         The
court was first put on notice of the non-compliance of the scheduling order by
the prolonged stay at the county jail.      The defense was immediately diligent to
ward addressing the defects of the indictment with a bill of particulars served
upon Quinley on or about Aug. 8.      No response was obtained and the defense only

learned at the hearing on 9-14-18 that Quinley had no intentions of responding.
This bad faith silence prejudiced the defense by spending clock while preventing
actions that could be taken with proper communication.         Like a motion for a bill

of particulars, already executed and sent to this court, and this motion which

would have been more accurate and appropriate after a bill of particulars.         De

fense has displayed diligence when made aware of facts and opportunities to speak
and has only the prejudicial action or inactions of Quinley as cause for any de

lays or tartiness.

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                                        GROUNDS

1.      FALSE DESIGNATION -   LACK OF PERSONUM JURISDICTION

       Quinley, the Grand jury, and this court continue with the false designation

and intentional confusion of a fictional entity defendant KURT F. JOHNSON which

is not the man paraded before this court in chains against his will.        The mere

idem sonans similarity is not evidentiary and not even sufficient for the pre

sumption of misrepresentation.      Executor-Kurt-F.-Johnson has made it clear in

all documents filed upon the record and at every hearing that he is not the de

fendant.     The Constitution prohibits this lack of parity from creating any

Article III controversy for any grant of jurisdiction.        This court has not jur

isdiction over theman or the ability to transfer the liabilities of a fictional

entity within their jurisdiction to a man that is not.        Especially when the com

mercial claim was settled by offer of tender.       The indictment fails to state an

offense against this man and only presents a commercial claim for honor of dis

honor according to public policy.      Dishonor and these subsequent dishonor proc

eedings are a clear violation of public policy, a tortious injury, and outside

the sovereign immunities enumerated for officers operating proper and duly con

stituted functions of the republic.

2. MERGER

       This indictment suffers from the merger problem like that explained in

U.S. v. Santos, 553 US 507, 515-519 (2008).        There are 4 charges in a 2 x 2

fashion.     Two claim 18 U.S.C. 152(3) false declarations and two 18 U.S.C. 157

for fraudulent representation of indebtedness by saying there is a judgment that

doesn't actually exist according to Quinley.        Using the Canon of Statutory Con

struction words used by congress in the same act are intended to have the same

meaning. Util. Air Regulatory Group v. EPA, 189 Led2d 372, 391 [14] (2014).

"in relation to" are words of direction and grammatically prepositional for re

lationship.     They are in both statutes of the Bankruptcy Act.     With their plain

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urrderstood and being consistent throughout the act there is no ambiguity that

the prohibitions of both statutes relate to title 11.     Here is where the merger

problem enters.   Because the false statement of indebtedness is made false by 28

U.S.C. 1746 the prohibitions merge and are no longer distinct.     Each is "in rel

ation to" title 11 and each is in relation to the false statement of indebtedness.

Congress could not have intended that every false statement made on or in a pet

ition related to title 11 gets punished twice.     This is an absurd consequence of

statutory interpretation.    There was no way not to violate both statutes with e

same act because if the false statement is made i t must be made under 28 U.S.C.

1746 or the court would reject it.     This falls under rule 11 and was made an

issue in these bankruptcy proceedings by debtor's counsel.

     The only remedy is to dismiss two counts to bifurcate the merger and to

keep the acts distinct.     Either two of one statute or one of each.

3. TITLE 18                           liriE 18

     The indictment cites two statutes from title 18 as the subject matter jur

isdiction for a cause of action.     Neither the executive or the judicial branches

of government can legislate.    The only way for these statutes to have the force

of positive law they must pass both Houses of Congress and be presented to the

President.    Public law 80-772 Act of June 25, 1948 ch. 645, Section 1, 62 Stat.

et. seq. is unconstitutional and void granting no subject matter to the Grand,

Petite juries, or the court because H.R. 3190 never passed both Houses as req

uired by Article I, Section 7, Clause 2.     H.R. 3190 was signed by single officers

of the Houses post-adjournment pursuant to H.Con.Res. 219 and presented to the

President.    This violates the Quorum, Bicameral, and Presentment requirements

of Article I of the Constitution.     This bill so signed and presented in the ab

sence of quorums which was not certified as truly enrolled nor the enrolled bill

in fact, a clear violation of Article I, United States Code Section 106, House


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Rules and Precedent prohibiting such acts, renders the bill signed into Public

Law 80-772 null and void.   An indictment returned on null and void laws is Ultra

Vires and now Corum Non Judice.   The independent function of the Grand Jury is

destroyed by the Executive misleading them as to the validity of the laws.

Presumptions of validity are not sufficient to put life, liberty, and property

into jeopardy.   The public or political ramifications of such a prolific and

prolonged fraud is not a consideration for the rights of the accused.        The

accused is not threatened by non-existent laws, only the force of tyrants who

would give effect to the law that never was.     This is an injury in fact and very

private and personal, not a political problem.     The accused has standing to vin

dicate rights on an individual basis separate and distinct from any interest in

the proper function of the institutions of government.     These facts can be ver

ified by certified congressional records and journals.     For these reasons the

indictment should be dismissed.

September 18, 2018                              Respectfully submitted.




                                                            i^P^-Johnson for
                                                           rsON Defendant.




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